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                             Certificate of Service Page 1 of 3



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                          :   CHAPTER 7
                                                :
VICTOR VU NGUYEN,                               :   CASE NO. 20-65736-PWB
                                                :
            Debtor.                             :

                                CERTIFICATE OF SERVICE

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION AND DEADLINE TO OBJECT (NFR) by first
class U.S. Mail, with adequate postage prepaid, on the persons or entities at the addresses stated
on the attached Exhibit “A”.

         This 16th day of March, 2021.

                                                     /s/ S. Gregory Hays
                                                    S. Gregory Hays
                                                    Chapter 7 Trustee

Hays Financial Consulting, LLC
2964 Peachtree Rd, N.W
Suite 555
Atlanta, Georgia 30305
(404) 926-0060
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                                Exhibit “A”
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                                      Certificate of Service Page 3 of 3
Bank of America                       JPMorgan Chase Bank NA           Chase Card Services
4909 Savarese Circle                  Bankruptcy Mail Intake Team      Attn: Bankruptcy
Fl1-908-01-50                         700 Kansas Lane, Floor 01        Po Box 15298
Tampa, FL 33634-2413                  MONROE, LA 71203-4774            Wilmington, DE 19850


Office of the US Trustee              Daniel E. Raskin                 Credit Control Corporation
362 Richard Russell Building          Law Clinic of Daniel E. Raskin   Attn: Bankruptcy
75 Ted Turner Drive, SW               Suite 114                        Po Box 120568
Atlanta, GA 30303-3315                325 Hammond Drive                Newport News, VA 23612-0568
                                      Atlanta, GA 30328-5026
Credit First National Association     County Of Orange                 Infiniti Financial Services
Attn: Bankruptcy                      Child Support Services           Nissan Motor Accep Bankruptcy
Po Box 81315                          Attn: Bankruptcy                 PO Box 660360
Cleveland, OH 44181-0315              Po Box 22099                     Dallas, TX 75266-0360
                                      Santa Ana, CA 92702-2099
JPMorgan Chase Bank, N.A.             SCE                              American Express National Bank
s/b/m/t Chase Bank USA, N.A.          Southern California Edison       c/o Becket and Lee LLP
c/o National Bankruptcy Serv LLC      Attn: Bankruptcy                 PO Box 3001
PO Box 9013                           Po Box 800                       Malvern, PA 19355-0701
Addison, TX 75001-9013                Rosemead, CA 91770-0800
Amex                                  Victor Vu Nguyen
Correspondence/Bankruptcy             2107 Monterey Parkway
Po Box 981540                         Sandy Springs, GA 30350
El Paso, TX 79998-1540
